266 F.2d 560
    Leo O. JOHNSON, an individual doing business as Johnson Hair and Scalp Clinic, Petitioner,v.FEDERAL TRADE COMMISSION, Respondent.
    No. 17411.
    United States Court of Appeals Fifth Circuit.
    May 21, 1959.
    Rehearing Denied July 21, 1959.
    
      Petition for Review of an Order of the Federal Trade Commission, sitting at Washington, D. C.
      James I. McCain, New Orleans, La., for petitioner.
      J. B. Truly, Atty., F.T.C., James E. Corkey, Asst. Gen. Counsel, F.T.C., Earl W. Kintner, General Counsel, Washington, D. C., for respondent.
      Before RIVES, CAMERON and JONES, Circuit Judges.
      PER CURIAM.
    
    
      1
      We find no such differences in fact as distinguish this case from Mueller v. United States, 5 Cir., 1958, 262 F.2d 443. We adhere to the doctrines there announced. The order of the Commission is affirmed and will be enforced.
    
    
      2
      Affirmed.
    
    
      3
      CAMERON, Circuit Judge, dissenting.
    
    
      4
      Rehearing denied; CAMERON, Circuit Judge, dissenting.
    
    